       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Ashley Jennifer White
       v. Commonwealth of Virginia
       Record No. 1322-16-3
       Opinion rendered by Judge Petty on
        September 19, 2017

    2. John Beverly Chapman, Jr.
        v. Commonwealth of Virginia
        Record No. 1948-16-4
        Opinion rendered by Judge Russell on
        September 26, 2017

    3. Emily Lynn Aponte
       v. Commonwealth of Virginia
       Record No. 0052-17-3
       Opinion rendered by Judge Malveaux on
        October 10, 2017

    4. Aaron Markeith Gerald
       v. Commonwealth of Virginia
       Record No. 0731-16-1
       Opinion rendered by Judge Humphreys on
        October 17, 2017
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. James Edward Mercer
    v. Commonwealth of Virginia
   Record No. 1897-17-2
    Opinion rendered by Judge Humphreys
     on March 22, 2016
    Refused (161716)

2. Franklin Minor
   v. Commonwealth of Virginia
   Record No. 2047-15-4
   Opinion rendered by Judge Russell
     on November 8, 2016
   Refused (161740)

3. Charles Albert Massey, III
   v. Commonwealth of Virginia
   Record No. 1421-15-4
   Opinion rendered by Judge Russell
    on December 13, 2016
   Refused (170057)

4. Manneh Vay
   v. Commonwealth of Virginia
   Record No. 0053-16-2
   Opinion rendered by Judge Russell
    on January 31, 2017
   Refused (170440)

5. Northrop Grumman Shipbuilding, Inc., n/k/a Huntington Ingalls Incorporated
   v. Wardell Orthopaedics, P.C.
   Record No. 1182-16-1
   Opinion rendered by Judge Beales
    on February 28, 2017
   Settled and withdrawn (170409)

6. Newport News Shipbuilding &amp; Dry Dock Co., n/k/a Huntington Ingalls Incorporated
   v. Wardell Orthopaedics, P.C.
   Record No. 1183-16-1
   Opinion rendered by Judge Humphreys
    on February 28, 2017
   Settled and withdrawn (170408)
7. Virginia Board of Medicine and Virginia Department of Health Professions
   v. Leila Hadad Zackrison, M.D.
   Record No. 1291-16-2
   Opinion rendered by Judge Russell
    on March 14, 2017
   Dismissed pursuant to Code § 17.1-410(A)(2) and (B) (170490)

8. Najee Finique Hairston
   v. Commonwealth of Virginia
   Record No. 0714-16-3
   Opinion rendered by Judge Decker
    on April 11, 2017
   Refused (170641)

9. Judy Kay Reaves
    v. James Kelly Tucker
   Record No. 1546-16-2
    Opinion rendered by Judge Petty
     on June 13, 2017
    Dismissed pursuant to Rule 5:17(c)(2) and Rule 5:17(c)(1)(i) (170901)

10. Timothy Kenneth Bartley
   v. Commonwealth of Virginia
   Record No. 1336-16-3
   Opinion rendered by Judge Petty
     on June 20, 2017
    Refused (170972)
       The Supreme Court issued an opinion in the following case, which had been appealed from
this Court

    1. Abdul Rahman Cole
       v. Commonwealth of Virginia
       Record No. 1201-15-4
       CAV petition for appeal denied by Judge Russell on April 8, 2016
         and by Judges Beales, Russell and AtLee on July 1, 2016
       Judgment of Court of Appeals affirmed in part and reversed in part and final judgment
         entered for the Commonwealth by opinion rendered on November 16, 2017
       (161113)
